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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                            Case No. 22-mj-530 (BRT)

 UNITED STATES OF AMERICA,                  )
                                            )
                            Plaintiff,      )
                                            )
              v.                            )   ORDER OF DETENTION
                                            )
 SHAMIR NATHANN BLACK,                      )
                                            )
                            Defendant.      )


      This matter came before the Court on June 30, 2022, for a preliminary and detention

hearing. The defendant appeared in custody and was represented by Ian Birrell. The

defendant appeared remotely via Zoom and waived his right to an in-person hearing. The

United States was represented by Assistant United States Attorney Bradley M. Endicott.

      The defendant is charged by federal complaint alleging a single count of carjacking

in violation of Title 18, United States Code, Section 2119. Special Agent Jacquelyn

Rosenow. Based on the testimony of Special Agent Rosenow, the Court finds that the

complaint is supported by probable cause.

      As for the issue of detention, the Court finds that the government has met its burden

to establish risk of flight and danger to the community. The nature and circumstances of

the offense involves the use of a firearm during the violent assault of two victims. The

history of the defendant also supports the government’s detention motion. According to

the pretrial services report, the defendant has a mixed history while on probation and

pretrial release. On one hand, the defendant’s juvenile probation officer reported the
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defendant did well on probation and participated in a court ordered program until March

2022. However, the defendant was serving a probationary sentence and was also on pretrial

release pending other felony charges when the alleged carjacking occurred. The

commission of new and violent criminal activity while under supervision is probative of

the unlikelihood that the defendant will comply with future conditions of release or appear

for court later. The defendant has also exhibited a pattern of fleeing the police and being

close to other guns.

       Upon consideration of the entire record before the Court, and the factors listed in 18

U.S.C. § 3142(g), the Court concludes by clear and convincing evidence that no condition

or combination of conditions of release will reasonably assure the safety of the community

if the defendant is released pending trial. The Court further concludes by a preponderance

of the evidence that no condition or combination of conditions of release will reasonably

assure the appearance of the defendant as required at future Court proceedings.

Accordingly, the Court grants the United States’ motion for detention.

       For the foregoing reasons, IT IS HEREBY ORDERED that:

       1.   The motion of the United States for detention is GRANTED;

       2.   The defendant is committed to the custody of the Attorney General for

confinement in a correctional facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

       3.   The defendant shall be afforded reasonable opportunity to consult privately

with counsel; and



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      4.    Upon Order of the Court or request by the United States Attorney, the person

in charge of the corrections facility in which the defendant is confined shall deliver the

defendant to the United States Marshal for the purpose of appearance in connection with

further court proceedings.


Dated: June 30, 2022


                                         s/Becky R. Thorson
                                         BECKY R. THORSON
                                         United States Magistrate Judge




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